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                   1 LATHAM & WATKINS LLP
                         Alfred C. Pfeiffer (CA 120965)
                   2     Christopher S. Yates (CA 161273)
                         Belinda S Lee (CA 199635)
                   3     Niall E. Lynch (CA 157959)
                         Ashley M. Bauer (CA 231626)
                   4 505 Montgomery Street, Suite 2000
                     San Francisco, California 94111-6538
                   5 Telephone: +1.415.391.0600
                     Facsimile: +1.415.395.8095
                   6 al.pfeiffer@lw.com
                     chris.yates@lw.com
                   7 belinda.lee@lw.com
                     niall.lynch@lw.com
                   8 ashley.bauer@lw.com
               9 Counsel for Defendant
                 Dongwon Industries Co., Ltd.
              10
              11                           UNITED STATES DISTRICT COURT
              12                        SOUTHERN DISTRICT OF CALIFORNIA
              13
              14       IN RE PACKAGED SEAFOOD                     Case No. 3:15-md-02670-JLS-MDD
                       PRODUCTS ANTITRUST
              15       LITIGATION                                 MDL No. 2670

              16                                                  DEFENDANT DONGWON
                       This Document Relates To:                  INDUSTRIES CO., LTD.’S
              17      (1) Direct Purchaser Plaintiffs             OPPOSITION TO PLAINTIFFS’
                                                                  MOTION TO EXCLUDE
                      (2) End Payer Plaintiffs                    CERTAIN TESTIMONY OF
              18                                                  DEFENDANTS’ PROPOSED
                      (3) Commercial Food Preparer
              19           Plaintiffs                             EXPERTS (ECF NO. 1970):
                                                                  PROFESSOR ROBERT M.
                      (4) Associated Wholesale Grocers,           DAINES
              20           Inc. v. Bumble Bee Foods LLC, et
                           al., Case No. 3:18-cv-01014            PROPOSED REDACTED
              21                                                  VERSION
                      (5) W. Lee Flowers & Co., Inc. v.
              22           Bumble Bee Foods LLC, et al.,
                                                                  Special Briefing Schedule Ordered
                           Case No. 3:16-cv-01226
              23      (6) Winn-Dixie Stores, Inc. v. Bumble       Hearing:
                           Bee Foods LLC, et al., Case No.        Date: TBD
              24           3:16-cv-00017                          Time: TBD
              25      (7) Affiliated Foods, Inc. et al. v. Tri-   Place: Courtroom 4D
                           Union Seafoods, LLC et al., Case       Judge: Hon. Janis L. Sammartino
              26           No. 3:15-cv-02787
              27
              28
                                                                                DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                            EXCLUDE TEST. OF PROF. R. DAINES
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                   1            Defendant Dongwon Industries Co., Ltd. (“DWI”) files this Opposition to
                   2 ECF No. 1970 (“Motion”), as it pertains to Professor Robert M. Daines. The
                   3 Motion to exclude certain opinions of Professor Daines should be denied.
                   4 I.         INTRODUCTION
                   5            Professor Daines’ opinions are reliable, relevant to the claims and defenses
                   6 in this case, and likely to assist the jury. Plaintiffs do not object to Professor
                   7 Daines’ qualifications to opine on corporate governance issues. Nor could they.
                   8 He is one of the foremost scholars on corporate governance, routinely trains boards
                   9 of directors on governance practices, and serves as an expert on the economic and
              10 policy concerns animating corporate veil piercing. Courts regularly permit experts
              11 to testify on these issues, and Professor Daines is eminently qualified to do so.
              12                Professor Daines did not improperly offer legal opinions on ultimate issues,
              13 as Plaintiffs suggest. He reviewed the policy and economic goals underlying
              14 corporate veil piercing and assessed the relationship between StarKist Co.
              15 (“StarKist”) and its parent company, DWI. He also analyzed StarKist’s practices
              16 using typical corporate governance frameworks and found its              REDACTED
              17
              18                                  Professor Daines does not opine on the ultimate issues for
              19 the jury: whether StarKist is an agent or alter ego of DWI, or whether DWI is
              20 vicariously liable. Plaintiffs’ Motion should be denied.
              21 II.            BACKGROUND
              22                A.    Professor Daines’ Experience and Expertise
              23                Professor Daines is the Associate Dean and Pritzker Professor of Law and
              24 Business at Stanford Law School and a finance professor at Stanford’s Graduate
              25 School of Business. Ex. 11 (Daines Report), at ¶ 1, App. A. He teaches courses on
              26 corporate governance, business transactions, and other financial issues. Id.
              27 Professor Daines is on the faculty at the Rock Center on Corporate Governance at
              28       1
                           “Ex.” cites are to the Declaration of Elizabeth C. Gettinger, filed concurrently.
                                                                                      DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                       1            EXCLUDE TEST. OF PROF. R. DAINES
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                   1 Stanford, where he collaborates with leaders in academia, business, and policy-
                   2 making on corporate governance issues. Id. He trains boards through programs
                   3 with the business and law schools at Stanford, the University of Chicago, and
                   4 Dartmouth, and is frequently retained by boards of directors to provide private
                   5 trainings on these same topics. Ex. 2 (Daines Dep.), at 19:23-20:1; 172:20-173:14.
                   6        Professor Daines has served as an expert witness in numerous cases related
                   7 to corporate governance, economic and financial issues, and corporate transactions.
                   8 See Ex. 1, at App. A. He has testified on behalf of the Department of Justice on
                   9 “corporate governance, corporate finance, and the economic analysis of corporate
              10 control” in litigation related to the “bailout” of American International Group, Inc.
              11 See Starr Int’l Co., Inc. v. United States, 121 Fed. Cl. 428, 461-62 (2015). His
              12 opinions have never been excluded by a Court as irrelevant, unreliable, or because
              13 they constitute improper legal conclusions. Ex. 2, at 22:23-23:17.2
              14            B.     Professor Daines’ Expert Report
              15            Professor Daines’ assignment included           REDACTED
              16
              17
              18                                             Ex. 1, at ¶¶ 10, 18. Professor Daines
              19 concluded that the Accountants cite facts that are     REDACTED
              20
              21                                                                           Id. at ¶ 11.
              22 Regarding Dr. Hamilton’s opinions that StarKist              REDACTED
              23
              24 Professor Daines concluded they are                   REDACTED
              25
              26                                    Id. at ¶¶ 19-20. Professor Daines also found that the
              27
                       2
              28                                          REDACTED
                                              REDACTED                              Ex. 2 at 22:23-23:17.
                                                                                DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  2           EXCLUDE TEST. OF PROF. R. DAINES
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                   1 economic harms that academics and practitioners agree are prevented by veil
                   2 piercing                    REDACTED                             Id. at ¶¶ 21-22.
                   3        Plaintiffs argue that portions of Professor Daines’ testimony “crosses the
                   4 line in offering legal conclusions.” Pls.’ Mem. of P. & A. in Supp. of Mot. to
                   5 Exclude Certain Test. of Defs.’ Proposed Experts at 23-26, Sept. 19, 2019, ECF
                   6 No. 1969 (“Mem.”). Specifically:
                   7        • Background information on corporations, shareholders, boards of
                              directors, and corporate governance (Ex. 1, at ¶¶ 37-48, 60);
                   8
                            • Responses to opinions proffered in Dr. Hamilton’s and the Accountant
                   9          reports (id. at ¶¶ 22, 101-02, 104, 108, 114, 144-45); and
              10            • Opinions on StarKist’s corporate governance practices and the economic
                              and policy goals of veil piercing (id. at ¶¶ 22, 39, 44, 48, 60, 102, 104,
              11              108, 114, 144-45).

              12 As discussed below, none of Professor Daines’ opinions should be excluded.
              13 III.       ARGUMENT
              14            A qualified expert may present opinion testimony that “will help the trier of
              15 fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702.
              16 Such testimony must be relevant, meaning that it will “logically advance a material
              17 aspect of the party’s case.” Estate of Barabin v. AstenJohnson, Inc., 740 F.3d 457,
              18 463 (9th Cir. 2014). Expert opinions must also be reliable, meaning the testimony
              19 has “a reliable basis in the knowledge and experience of [the relevant] discipline.”
              20 Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 149 (1999) (citation omitted).
              21            There is no question Professor Daines is qualified to opine on corporate
              22 governance and the economic and policy goals of corporate veil piercing. See
              23 supra, Section II.a. Plaintiffs’ only challenge is that Professor Daines’ “testimony
              24 is laced with legal conclusions and purported policy justifications about how
              25 various facts shouldn’t support liability.” Mem. at 24. Plaintiffs argue this is an
              26 attempt to “usurp the Court’s role in determining metes and bounds of the law.”
              27 Id. Professor Daines does not, however, opine on ultimate legal conclusions.
              28 Rather, he analyzes the “economic justifications” and “policy goals” that underlie
                                                                                 DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  3            EXCLUDE TEST. OF PROF. R. DAINES
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                   1 corporate governance and veil piercing. Id. at 23. Such testimony will help the
                   2 jury evaluate testimony about the relationship between StarKist and DWI and
                   3 understand the complex factual issues related to corporate governance. For
                   4 example, a company’s dividend payments might be misunderstood by a lay jury
                   5 evaluating corporate veil piercing. If this matter proceeds to trial against DWI,
                   6 Professor Daines’ testimony will help the jury understand how such facts relate to
                   7 the economic and policy goals of veil piercing.
                   8         A.    Professor Daines Opines on Economic and Policy Issues Related
                                   to Corporate Governance, Not Ultimate Legal Conclusions
                   9
              10             Professor Daines analyzes StarKist’s corporate organization and governance
              11 and explains the economic and policy implications of the alter ego doctrine. This
              12 topic is uncontroversial: “Courts routinely allow experts to testify about corporate
              13 governance standards.” Nerium SkinCare, Inc. v. Nerium Int’l, LLC, No. 3:16-CV-
              14 1217-B, 2018 WL 3520840, at *5 (N.D. Tex. July 3, 2018). In Nerium SkinCare,
              15 the court permitted testimony on “corporate governance standards” that would
              16 assist the jury in determining the ultimate issue of breach of fiduciary duty and
              17 allowed testimony on whether companies “maintain[ed] separateness[.]” Id. at *5-
              18 6; see also AngioScore, Inc. v. TriReme Med., Inc., 87 F. Supp. 3d 986, 1016 (N.D.
              19 Cal. 2015) (permitting professor to testify on principles of “sound corporate
              20 governance” and “governance practices generally applied in the corporate context,”
              21 but not the ultimate issue of breach of fiduciary duty). In Cary Oil Co. v. MG
              22 Refining & Marketing, Inc., the court permitted a law professor who “specializes in
              23 corporate governance” to “explain general corporate governance principles and the
              24 concept of veil-piercing to the jury,” which was “crucial if the laymen jury is to
              25 understand fully the complex issues in this matter.” No. 99 CIV. 1725 (VM), 2003
              26 WL 1878246, at *5-6 (S.D.N.Y. Apr. 11, 2003). The professor’s testimony “that
              27 the relation between the Defendants exceeded the control a parent ordinarily
              28 exercises over its subsidiary so as to justify veil-piercing” was not an ultimate legal
                                                                                 DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                  4            EXCLUDE TEST. OF PROF. R. DAINES
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                   1 conclusion. Id. Professor Daines’ opinions fit squarely into the categories
                   2 permitted in each of these cases.3
                   3         Professor Daines’ opinions will help a lay jury understand issues of
                   4 corporate governance and veil piercing in several ways. First, Professor Daines
                   5 explains basic issues and terms in corporate governance. Ex. 1, at ¶¶ 37-61.
                   6 Second, Professor Daines reviews the undisputed facts cited in the Accountants’
                   7 reports, which he finds are                      REDACTED
                   8
                   9                                                    Id. at ¶¶ 62-84; see Cary Oil Co.,
              10 2003 WL 1878246, at *5. Next, Professor Daines finds                REDACTED
              11
              12                                                     Ex. 1, at ¶¶ 85-99.4 Finally, Professor
              13 Daines assesses StarKist’s corporate governance practices through the lens of the
              14 economic and policy goals of corporate veil piercing,            REDACTED
              15
              16                                                                                  Id. at
              17 ¶¶ 100-45. Nowhere does Professor Daines opine on the ultimate questions for the
              18 jury: whether StarKist is the agent or alter ego of DWI, or “what conduct the []
              19 laws should and should not punish.” Mem. at 24 (citation omitted).
              20             There is no deposition testimony to the contrary.      REDACTED
              21
              22
              23       3
                         Professor Daines does not offer any legal opinions. But even to the extent his
                       opinions “embrace an ultimate issue to be decided by the trier of fact,” they are
              24       clearly permissible. See McCoy v. Kazi, No. CV0807244SJOCWX, 2010 WL
                       11465179, at *15 (C.D. Cal. Aug. 27, 2010); Cary Oil Co., 2003 WL 1878246, at
              25       *5-6 (noting courts have “latitude to allow experts to testify about issues that
                       would help the jury understand concepts it needed to know to render a verdict
              26       despite the fact that the opinions may encroach on matters of law”).
                       4
              27         As Professor Daines explains, corporate governance practices are assessed based
                       upon their ability to resolve problems associated with monitoring and agency costs,
              28       or with minority shareholder protections—                    REDACTED
                                       REDACTED                  Id. ¶¶ at 87-99.
                                                                                  DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   5            EXCLUDE TEST. OF PROF. R. DAINES
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                   1                                    REDACTED
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                   5
                   6                     Ex. 2, at 193:9-24; see also id. at 151:19-23   REDACTED
                   7
                   8
                   9
              10               Even the quotes in Plaintiffs’ Motion prove the Daines Report relates to the
              11 economic and policy justifications for veil piercing, not ultimate legal conclusions:
              12               •                                REDACTED
                                                               REDACTED                                Mem.
              13                   at 23 (quoting Daines Report ¶ 22) (emphasis added).
              14               • StarKist’s practices                    REDACTED
                                         REDACTED          Id. (quoting Daines Report ¶ 104) (emphasis
              15                   added).
              16               • Professor Daines                         REDACTED
                                                REDACTED                  Id. (citing Daines Report ¶ 102)
              17                   (emphasis added).
              18               •                           REDACTED
              19                   REDACTED   Id. at 24 (quoting Daines Report ¶ 102) (emphasis added).
              20               • The Accountants’ and Dr. Hamilton’s reports             REDACTED
                                                                   REDACTED
              21                                                   REDACTED
                                                         REDACTED                          Id. (quoting
              22                   Daines Report ¶ 103) (emphasis added).
              23               •                           REDACTED
              24                     REDACTED      Id. (quoting Daines Report ¶ 130)(emphasis added).
              25               •                                 REDACTED
                                                              REDACTED                                Id.
              26                   (quoting Daines Report ¶ 145) (emphasis added).
              27       5
                           Plaintiffs cite one instance in which Professor Daines opines that REDACTED
              28                                              REDACTED
                                                                                    DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                      6           EXCLUDE TEST. OF PROF. R. DAINES
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                   1         Plaintiffs’ cases also demonstrate Professor Daines’ testimony is proper. In
                   2 Delta/Airtran Baggage Fee Antitrust Litigation, the court excluded an economist’s
                   3 opinion that the defendant “should not be held liable” because it “plainly expresses
                   4 an opinion about what conduct the antitrust laws should and should not punish.”
                   5 245 F. Supp. 3d 1343, 1362 (N.D. Ga. 2017). Professor Daines expresses no
                   6 ultimate opinion on liability. See Ex. 2, at 193:9-194:4. Instead, his analysis
                   7 centers on StarKist’s corporate governance practices (and rebuts Dr. Hamilton’s
                   8 and the Accountants’ characterizations), and how corporate governance relates to
                   9 the policies behind veil piercing. Id. In Bona Fide Conglomerate, Inc. v.
              10 SourceAmerca, the court struck opinions that “interpret[ed] a legal contract” as “an
              11 ultimate question of law,” but allowed testimony on the “regulatory backdrop” that
              12 would assist the jury but did not implicate ultimate legal issues. No. 3:14-cv-
              13 00751-GPC-AGS, 2019 WL 1369007, at *11-15 (S.D. Cal. Mar. 26, 2019). In
              14 Amari Co. v. Burgess, the court excluded testimony on “whether Plaintiffs have
              15 viable claims,” including an expert’s “application of the alter ego doctrine.” No.
              16 07 C 01425, 2012 WL 5389787, at *15 (N.D. Ill. Nov. 2, 2012). Professor Daines
              17 does not “apply” the alter ego doctrine or opine on the validity of a claim. Nor
              18 does he comment on whether entities are “instrumentalities or alter egos” or on the
              19 sufficiency of the evidence, as did the expert who was excluded in HBC Ventures,
              20 LLC v. Holt MD Consulting, Inc., No. 5:06-CV-190-F, 2012 WL 4483625, at *8
              21 (E.D.N.C. Sept. 27, 2012). In sum, Professor Daines’ testimony is permissible
              22 because he gives no opinions on ultimate questions of law.
              23             B.    Professor Daines’ Opinions Are Responsive to Plaintiffs’ Experts
              24             Plaintiffs criticize Professor Daines’ opinions even though they directly
              25
                                                     REDACTED
              26         REDACTED      See Mem. at 23 (quoting Daines Report ¶¶ 101-02). But Plaintiffs
                       omit the very next sentence, which explains why Professor Daines believes
                                                                                                   REDACTED



              27
              28
                                               REDACTED
                                             REDACTED                           Ex. 1, at ¶ 102.
                                                                                  DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                   7            EXCLUDE TEST. OF PROF. R. DAINES
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                   1 respond to claims made in Dr. Hamilton’s and the Accountants’ reports. See, e.g.,
                   2 Ex. 1, at ¶¶ 10, 18                       REDACTED
                   3       REDACTED Plaintiffs’ Accountants imply                 REDACTED
                   4
                   5                                                                                     but
                   6 Plaintiffs then ask the Court to rule that an actual corporate governance expert
                   7 should not be permitted to refute those claims. “Rebuttal expert reports are proper
                   8 if they contradict or rebut the subject matter of the affirmative expert report.” R &
                   9 O Const. Co. v. Rox Pro Int’l Grp., Ltd., No. 2:09-CV-01749-LRH-LR, 2011 WL
              10 2923703, at *2 (D. Nev. July 18, 2011); see also Czuchaj v. Conair Corp., No.
              11 313CV01901BENRBB, 2016 WL 4414673, at *5 (S.D. Cal. Aug. 19, 2016)
              12 (holding expert opinion that criticizes an opposing expert and “reache[s] a contrary
              13 opinion” is “proper rebuttal and satisfies the requirements of Rule 702”).
                                                                                                REDACTED
              14               Dr. Hamilton and the Accountants repeatedly, and improperly,6
              15
              16 Professor Daines should be permitted to respond to these misleading opinions.
              17 Indeed, Professor Daines undertook a comparative investigation into the evidence
              18 Plaintiffs’ purported experts cite—                       REDACTED
              19
              20
              21
              22 Ex. 1, at ¶¶ 100-45. This testimony directly rebuts Plaintiffs’ Accountants’ and
              23 sociologist’s conclusions, and it should be permitted on that basis as well.
              24 IV.           CONCLUSION
              25               Professor Daines’ testimony will assist the fact finder’s evaluation of
              26 StarKist’s corporate governance and refute Plaintiffs’ Accountants’ and
              27 sociologist’s unfounded assertions. Plaintiffs’ Motion should be denied.
              28       6
                           See Defendants’ Daubert motions. See ECF Nos. 1984, 1967.
                                                                                    DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                                     8            EXCLUDE TEST. OF PROF. R. DAINES
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                                          12

                   1 Dated: November 7, 2019   LATHAM & WATKINS LLP
                   2                           By: s/ Christopher S. Yates
                   3
                                               Alfred C. Pfeiffer (CA 120965)
                   4                           Christopher S. Yates (CA 161273)
                   5                           Belinda S Lee (CA 199635)
                                               Niall E. Lynch (CA 157959)
                   6                           Ashley M. Bauer (CA 231626)
                   7                           505 Montgomery Street, Suite 2000
                                               San Francisco, CA 94111-6538
                   8                           Telephone: +1.415.391.0600
                   9                           Facsimile: +1.415.395.8095
                                               al.pfeiffer@lw.com
              10
                                               chris.yates@lw.com
              11                               belinda.lee@lw.com
                                               niall.lynch@lw.com
              12
                                               ashley.bauer@lw.com
              13
                                               Counsel for Defendant
              14
                                               Dongwon Industries Co., Ltd.
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                                                                  DWI’S OPP’N TO PLS.’ MOT. TO
ATTORNEYS AT LAW
 SAN FRANCISCO                                    9           EXCLUDE TEST. OF PROF. R. DAINES
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